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                 UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA         )
                                 )
                    v.           )   C.A. NO. 12-CR-30034-MAP
                                 )
MARIA JUSINO and                 )
RAFAEL BELEN, Defendants         )

                MEMORANDUM AND ORDER REGARDING
                  REPORT AND RECOMMENDATIONS
                  CONCERNING PLEAS OF GUILTY
                     (Dkt. Nos. 16 & 17)

                         September 21, 2012

PONSOR, U.S.D.J.
    On August 24, 2012, Magistrate Judge Kenneth P. Neiman

issued two Report and Recommendations regarding Defendants

Jusino and Belen, recommending that the pleas of guilty of
these two Defendants be accepted and that Defendants be

adjudged guilty and sentenced accordingly.

    The pleas were offered pursuant to Fed. R. Crim. P. 11

and Rule 5 of the Rules for United States Magistrates for

the District of Massachusetts.        Judge Neiman cautioned and
examined Defendants under oath as required by Rule 11,
determined that the guilty pleas were knowledgeable and

voluntary, and that the offences charged were supported by
independent facts establishing the essential elements of the
offences.   Defendants were admonished in writing that Judge

Neiman’s recommendations that the pleas of guilty be

accepted were subject to objection filed within fourteen
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days.    Neither Defendant Jusino nor Defendant Belen filed
any objection.

    Based on the foregoing, Judge Neiman’s Report and
Recommendations (Dkt. Nos. 16 & 17) are hereby ADOPTED.
Defendants are hereby adjudged guilty.             The clerk will

proceed to set a date for sentencing.
    It is So Ordered.
                                         /s/ Michael A. Ponsor
                                          MICHAEL A. PONSOR
                                          U. S. District Judge




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